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     Thomas L. Laughlin, IV (admitted pro hac vice)
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 2   230 Park Avenue, 17th Floor
     New York, NY 10169
 3   Telephone: (212) 223-6444
     tlaughlin@scott-scott.com
 4
     Attorneys for Co-Lead Plaintiff Movants Dr. Vinod Sodha and
 5   Dr. Amee Sodha and Proposed Lead Counsel for the Class
 6

 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8
 9   PHILIP GOLUBOWSKI, Individually and on               Case No. 3:21-cv-09767-EMC
     Behalf of All Others Similarly Situated,
10
                                  Plaintiff,
11                                                        DECLARATION OF THOMAS L.
            v.                                            LAUGHLIN, IV IN SUPPORT OF DR.
12                                                        VINOD SODHA AND DR. AMEE
     ROBINHOOD MARKETS, INC., VLADIMIR                    SODHA’S MOTION FOR: (1)
13   TENEV, JASON WARNICK, BAIJU BHATT,                   APPOINTMENT AS CO-LEAD
     JAN HAMMER, PAULA LOOP, JONATHAN                     PLAINTIFFS; AND (2) APPROVAL OF
14   RUBENSTEIN, SCOTT SANDELL, ROBERT                    LEAD COUNSEL
     ZOELLICK, GOLDMAN SACHS & CO. LLC,
15   J.P. MORGAN SECURITIES LLC,
     BARCLAYS CAPITAL INC., WELLS FARGO
16                                                        Judge: Hon. Edward M. Chen
     SECURITIES, LLC, MIZUHO SECURITIES                   Dept.: 5, 17th Floor
     USA LLC, JMP SECURITIES LLC,
17                                                        Date: March 24, 2022
     KEYBANC CAPITAL MARKETS INC.,
     PIPER SANDLER & CO., ROSENBLATT                      Time: 1:30 p.m.
18   SECURITIES INC., BMO CAPITAL
     MARKETS CORP., BTIG, LLC,
19   SANTANDER INVESTMENT SECURITIES
     INC., ACADEMY SECURITIES, INC., LOOP
20   CAPITAL MARKETS LLC, SAMUEL A.
     RAMIREZ & COMPANY, INC., and SIEBERT
21   WILLIAMS SHANK & CO., LLC,
22                          Defendants.
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      DECLARATION OF THOMAS L. LAUGHLIN, IV, IN SUPPORT OF DR. VINOD SODHA AND DR. AMEE SODHA’S MOTION FOR:
             (1) APPOINTMENT AS CO-LEAD PLAINTIFFS; AND, (2) APPROVAL OF SELECTION OF LEAD COUNSEL
                                            CASE NO. 3:21-cv-09767-EMC
     Case 3:21-cv-09767-EMC Document 45-1 Filed 02/15/22 Page 2 of 3




 1          I, Thomas L. Laughlin, IV, pursuant to 28 U.S.C. §1746, declare as follows:

 2          1.      I am an attorney duly licensed to practice and have been approved by this Court to

 3   practice in the above-captioned action pro hac vice. See ECF No. 9. I am an attorney with the law

 4   firm of Scott+Scott Attorneys at Law LLP (“Scott+Scott”).

 5          2.      I make this declaration in support of the motion of Lead Plaintiff movants and

 6   putative Class members Dr. Vinod Sodha and Dr. Amee Sodha (“Movants”) for an order:

 7   (1) appointing Movants as Co-Lead Plaintiffs; and (2) approving the Movants’ selection of

 8   Scott+Scott as Lead Counsel. I have personal knowledge of the matters stated herein, and if called

 9   upon, I could, and would, competently testify thereto.

10          3.      Attached are true and correct copies of the following:

11                  Exhibit A:    Notice published on December 17, 2021, pursuant to the Private

12                                Securities Litigation Reform Act of 1995 (“PSLRA”) via

13                                GlobeNewswire;

14                  Exhibit B:    Movants’ PSLRA Certifications;

15                  Exhibit C:    Joint Declaration of Movants;

16                  Exhibit D:    Movants’ loss charts; and

17                  Exhibit E:    Scott+Scott’s firm résumé.

18          I declare under penalty of perjury under the laws of the United States of America that the

19   foregoing is true and correct.

20          Executed this 15th day of February 2022, in New York, New York.

21                                          SCOTT+SCOTT ATTORNEYS AT LAW LLP

22                                          s/ Thomas L. Laughlin, IV
                                            Thomas L. Laughlin, IV (admitted pro hac vice)
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      DECLARATION OF THOMAS L. LAUGHLIN, IV, IN SUPPORT OF DR. VINOD SODHA AND DR. AMEE SODHA’S MOTION FOR:
             (1) APPOINTMENT AS CO-LEAD PLAINTIFFS; AND, (2) APPROVAL OF SELECTION OF LEAD COUNSEL
                                            CASE NO. 3:21-cv-09767-EMC
     Case 3:21-cv-09767-EMC Document 45-1 Filed 02/15/22 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on February 15, 2022, I caused the foregoing document to be filed

 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 4   to the email addresses denoted on the Electronic Mail Notice List.

 5          Executed on February 15, 2022, at New York, New York.

 6

 7                                                               s/ Thomas L. Laughlin, IV
                                                                Thomas L. Laughlin, IV
 8                                                              (admitted pro hac vice)
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      DECLARATION OF THOMAS L. LAUGHLIN, IV, IN SUPPORT OF DR. VINOD SODHA AND DR. AMEE SODHA’S MOTION FOR:
             (1) APPOINTMENT AS CO-LEAD PLAINTIFFS; AND, (2) APPROVAL OF SELECTION OF LEAD COUNSEL
                                            CASE NO. 3:21-cv-09767-EMC
